 Case:18-05288-EAG11 Doc#:178 Filed:04/16/19 Entered:04/16/19 14:44:38        Desc: Main
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 1                        IN THE UNITED STATES BANKRUPTCY COURT FOR
                                 THE DISTRICT OF PUERTO RICO
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 3
     IN RE:                                    CASE NO. 18-05288-EAG11
 4    SKYTEC INC                               Chapter 11

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 6
     XX-XXXXXXX
 7
                      Debtor                      FILED & ENTERED ON APR/16/2019
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                                      ORDER AND NOTICE
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11         A hearing on final approval of the amended disclosure statement (docket

12   entry #175) and the chapter 11 plan (docket entry #92) is hereby set for May

13   17, 2019 at 10:00a.m. at Jose V. Toledo Fed Bldg. & US Courthouse, 300 Recinto

14   Sur, 3rd Floor Courtroom 3, San Juan, Puerto Rico.         The motion to appoint

15   trustee, filed by Logistic Systems, Inc., at docket number 149 is set for the

16   same hearing.   The debtor has been granted an extension of time until April 29,

17   2019 to respond to Logistic Systems' motion.        If the debtor responds to the

18   motion timely, the parties are to file a joint pretrial report by May 10, 2019,

19   containing a joint statement of uncontested facts, and a list of witnesses and

20   proposed exhibits.    If the debtor does not respond to the motion timely, the

21   same may be granted without further notice or hearing.

22         IT IS SO ORDERED.

23         In Ponce, Puerto Rico, this 16 day of April, 2019.

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